Case 2:22-bk-10964-ER Doc/7 Filed

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Debtor 1 David Richard Duvernay

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FEB 23 2022

First Name Middie Name

Debtor 2

Last Name

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: Central District of California

Case number 3-9-1 C A 6Y re

(if known)

Last Name

CLERK U8. BANKRUPT
eGhiRat Spor ALPEN
BY: Deputy Clerk:

LJ Check if this is an
amended filing

Official Form 103B

Application to Have the Chapter 7 Filing Fee Waived

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known).

Tell the Court About Your Family and Your Family’s Income

1. What is the size of your family? Check all that apply:
Your family includes you, your
spouse, and any dependents listed (vj You
on Schedule J: Your Expenses Cj Your spouse
(Official Form 106J). C4 Your dependents

2. Fillin your family’s average
monthly income.

Include your spouse's income if

0 1

How many dependents?

Total number of people

That person’s average
monthly net income
(take-home pay)

your spouse is living with you, even
if your spouse is not filing.

Do not include your spouse’s
income if you are separated and
your spouse is not filing with you.

3. Do you receive non-cash
governmental assistance?

4. Do you expect your family’s
average monthly net income to
increase or decrease by more than
10% during the next 6 months?

Add your income and your spouse’s income. Include the

value (if known) of any non-cash governmental assistance
that you receive, such as food stamps (benefits under the YOU oeseree ene $ 2,100.00
Supplemental Nutrition Assistance Program) or housing
subsidies.
If you have already filled out Schedule I: Your income, see Yourspouse.. + §¢
line 10 of that schedule.
ee —-
Subtotal............ $
Subtract any non-cash governmental assistance that you _
included above. $
Your family’s average monthly net income Total... $ 2,100.00

Type of assistance

iV No
Yes. Describe. ..........

No
Yes. Explain. ............

5. Tell the court why you are unable to pay the filing fee in
installments within 120 days. If you have some additional
circumstances that cause you to not be able to pay your filing
fee in installments, explain them.

My monthly income barely covers my monthly expenses and |
do not have any net income left over at the end of the month
to pay the filing fee.

Official Form 103B

Application to Have the Chapter 7 Filing Fee Waived

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Debtor 1

David Richard Duvernay

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First Name Middle Name

Last Name

ir Tell the Court About Your Monthly Expenses

Case number (if known)

Desc

6. Estimate your average monthly expenses.

Include amounts paid by any government assistance that you $

reported on line 2.

2,095.00

If you have already filled out Schedule J, Your Expenses, copy

line 22 from that form.

7. Do these expenses cover anyone
who is not included in your family
as reported in line 1?

No
Yes. Identify who........

8. Does anyone other than you
regularly pay any of these
expenses?
if you have already filled out
Schedule |: Your Income, copy the
total from line 11.

[YZ] No

(I Yes. How much do you regularly receive as contributions? $

9. Do you expect your average
monthly expenses to increase or
decrease by more than 10% during
the next 6 months?

monthly

aa Teli the Court About Your Property

If you have already filled out Schedule A/B: Property (Official Form 106A/B) attach copies to this application and go to Part 4.

10. How much cash do you have?

Examples: Money you have in
your wallet, in your home, and on

11. Bank accounts and other deposits
of money?

Examples: Checking, savings,
money market, or other financial
accounts; certificates of deposit;
shares in banks, credit unions,
brokerage houses, and other
similar institutions. If you have
more than one account with the
same institution, list each. Do not
include 401(k) and JRA accounts.

hhand when you file this application

12. Your home? (if you own it outright or
are purchasing it)

Examples: House, condominium,
manufactured home, or mobile home

13. Other real estate?

14. The vehicles you own?

Examples: Cars, vans, trucks,
sports utility vehicles, motorcycles,
tractors, boats

Official Form 103B

Cash: $ 50.00
Institution name: Amount:
Checking account: Wells Fargo $ 20.00
Savings account: §
Other financial accounts: $
Other financial accounts: $
N/A
Number Street Current value: $ 0.00
N/A Amaunt you owe 0.00
City State ZIP Code on mortgage and $. :
a liens: oe
N/A Current value: $ 0.00
Number — Street A t
mount you owe
N/A JA on mortgage and $ 0.00
City State ZIP Code liens:
Make: N/A
Model: Current value: $.
Year: Amount you owe
Mileage on liens: $
Make. N/A
Model: Current value: $
Year: Amount you owe
Mileage on liens: $
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Debtor 1 David Richard Duvernay . Case number (if known)
First Name Middle Name Last Name
15. Other assets? Describe the other assets: Current value: - 0.00.
Do not include household items —
and clothing. N/A Amount you owe &—______-_ 0.00 .
on liens:
16. Money or property due you? Who owes you the money or property? How much is owed? Do you believe you will likely receive
payment in the next 180 days?
Examples: Tax refunds, past due
or lump sum alimony, spousal N/A $ 0.00 (| No
support, child support, N/A $ ‘9.90. Tj Yes. Explain:

maintenance, divorce or property
settlements, Social Security
benefits, workers’ compensation,
personal injury recovery

a Answer These Additional Questions

17. Have you paid anyone for No
services for this case, including / . > . . How much did you pay?
filling out this application, the [J Yes. Whom did you pay? Check all that apply: you pay
hankruptey filing package, or the [| An attorney §
schedules?
[| A bankruptcy petition preparer, paralegal, or typing service
[] Someone else _
18. Have you promised to pay or do No
you expect to pay someone for zoos .
services for your bankruptcy | Yes. Whom do you expect to pay? Check all that apply: How much do you
case? [] An attorney . expect to pay?
[| A bankruptcy petition preparer, paralegal, or typing service
$
of Someone else _
19. Has anyone paid someone on No
Fone casyiene F :
your Behalt for services for this [ | Yes. Who was paid on your behalf? Who paid? How much did
oo Check all that apply: Check all that apply: someone else pay?
[ } An attorney Parent $
A bankruptcy petition preparer, Brother or sister ———————
paraiegel, or typing service . Friend
[_ Someone else _ _ Pastor or clergy
™ Someone else _
20. Hae you Wed er bankruptcy Iv] No
winnin Ee last 9 years ¢ [| Yes. District : When Case number
MM/ DD/ YYYY
District : When Case number
MM/ DD/ YYYY
District When ‘ Case number
MM/ DD/ YYYY

By signing here under penalty of perjury, i declare that | cannot afford to pay the filing fee either in full or in installments. | also declare
that the information I provided in this application is true and correct.

Signature of Debtor 1 Signature of Debtor 2
Date _ 2/3 3 ge 2 53° Date
MM WDD /YYYY MM / DD SYYYY |

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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA

INSTRUCTIONS AND FORMS FOR REQUESTING AN ORDER TO PAY
BANKRUPTCY CASE FILING FEE IN INSTALLMENTS OR FOR FEE WAIVER:

(1) Application for Individuals to Pay the Filing Fee in Installments (Official Form
103A); or (2) Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B)

If you cannot afford to pay the full fee at the time of filing your bankruptcy case, you may apply to pay
the fee in installments. An “Application for Individuals to Pay the Filing Fee in Installments” (Official
Form 103A), which is included in this package, must be completed to make that application. If your
application to pay in installments is approved, you will be permitted to file your bankruptcy case,
completing payment of the fee within six months.

Permission to do so is only given when the judge is persuaded by testimony given under oath that
usually you cannot afford to pay the entire filing fee, and are not filing bankruptcy to forestall eviction
from residential! premises occupied on a month-to-month tenancy or on a tenancy at will, or for any
improper purpose.

The procedure for requesting permission to pay the fee for filing a bankruptcy case in installments is as
follows:

1. Tell the Intake clerk that you wish to request permission from the Court to pay the filing fee in
installments.

2. Complete the “Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A).”

3. Return the completed application form and your filing papers, i.e., petition, to the Intake filing
window.

4. Be prepared to show the clerk a California driver's license, California identification card, or other
similar form of identification.

5. Ask the clerk for the name of the judge who will rule on your motion, the time and location of a
hearing, if a hearing is required.

IF YOU ARE REQUIRED TO APPEAR AT A HEARING AND FAIL TO APPEAR, THE MOTION WILL
BE DENIED. YOU MAY NOT BE PERMITTED TO FILE ANY BANKRUPTCY CASE FOR 180 DAYS
FROM THE DATE OF THE HEARING, AND YOU AND YOUR PROPERTY MAY NOT BE
PROTECTED FROM THE ACTIONS OF YOUR CREDITORS IF YOU DO FILE A BANKRUPTCY
CASE DURING THOSE 180 DAYS OR LATER.

The hearing on your application will take place in a courtroom and will be conducted by a United States
Bankruptcy Judge.

If your application is denied, you must pay the fees in full within the time ordered by the judge or your
bankruptcy case will be dismissed; and if the judge orders, you may not file another bankruptcy case for
180 days from the date of the hearing. IF (1) YOUR CASE IS DISMISSED AND (2) YOU FILE
BANKRUPTCY AGAIN WITHIN THE NEXT YEAR, IT IS LIKELY THAT YOU WILL BE TREATED
AS HAVING FILED MORE THAN ONE BANKRUPTCY CASE WITHIN A 12- MONTH | PERIOD. _IF
THIS OCCURS, IT MAY SIGNIFICANTLY REDUCE THE PROTECTION YOU! WILL RECEIVE FROM
THE AUTOMATIC STAY IN THE LATER BANKRUPTCY CASE.

February 2017 1 Request to Pay Filing Fee in Installments or Waiver

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lf your application is granted, it will almost always be necessary for you to make a first installment
payment immediately after the hearing. The number of installments permitted cannot exceed four, and
the final installment shall be payable not later than 120 days after the filing of the petition, unless
extended by the Court for cause shown to a date not later than 180 days after the date of the filing of
the petition. Failure to pay any installment when due may be grounds for dismissal of the case without
notice and hearing.

In a chapter 7 case, if you cannot afford to pay the fee to file your bankruptcy case either in full at the
time of filing, or in installments, then you may request an order excusing you from paying the filing fee
by completing an “Application to Have the Chapter 7 Filing Fee Waived” (Offical Form 103B) and filing
it with the Clerk of the Court along with your petition. The form is included in this package. Permission
to do so is only given when the judge is persuaded by testimony given under oath that usually you
cannot afford to pay the entire filing fee, and are not filing bankruptcy to forestall eviction from
residential premises occupied on a month-to-month tenancy or on a tenancy at will, or for any improper
purpose. A judge will decide whether you have to pay the fee.

By law, you may be excused from paying the fee only if your income is less than 150 percent of the
official poverty line applicable to your family size and you are unable to pay the fee in installments. See
the attached U.S. Department of Health and Human Services (DHHS) table to determine if you are
eligible.

Required information. Complete all items in the application, and attach requested schedules. Then
sign the application on the last page. If you and your spouse are filing a joint bankruptcy petition, you
both must provide information as requested and sign the application.

The procedure for requesting an order for excusing you from paying the filing fee in a chapter 7 case is
as follow:

1. Tell the clerk that you wish to request permission from the Court to be excused from paying the
filing fee installments.
Complete an “Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B).”

Return the application form and your filing papers, i.e., petition, to the Intake filing window where
you obtained the installment payment information.

4, Be prepared to show the clerk a California driver's license, California identification card, or other
similar form of identification.
5. Ask the clerk for the name of the judge who will rule on your motion, the time and location of a

hearing, if a hearing is required.

You may submit both applications only if you believe you are eligible for both: (1) being excused from
paying the filing fee in full, and (2) if the judge disagrees, paying the filing fee in installments.

If your income is greater than the amount set forth in the attached U.S. Department of Health and
Human Services (DHSS) table and you can swear truthfully under oath that you cannot pay the full
filing fee today, then only submit the Application to Pay Filing Fee in Installments.

February 2017 2 Request to Pay Filing Fee in installments or Waiver
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150% of the HHS Poverty Guidelines for 2022*
Monthly Basis

Persons in 48 Contiguous
family unit States and D.C. Alaska Hawaii
1 $1,698.75 $2,123.75 $1,953.75

3 $2,878.75 $3,598.75 $3,311.25

5 $4,058.75 $5,073.75 $4,668.75

7 $5,238.75 $6,548.75 $6,026.25

Tor eact
additional person $590.00 $737.50 $678.75
add

* As required by section 673(2) of the Omnibus Budget Reconciliation Act
of 1981 (Pub. L. 97-35 - reauthorized by Pub. L. 105-285, Section 201
(1988)).

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150% of the HHS Poverty Guidelines for 2022*

Annual Basis
Persons in 48 Contiguous
family unit States and D.C. Alaska Hawaii
1 $20,385 $25,485 $23,445

$34,545

$43,185

$39,735

$60,885

$56,025

or eac
additional person
add

$62,865

$7,080

$78,585

$8,850

$8,145

(1988)).

* As required by section 673(2) of the Omnibus Budget Reconciliation Act
of 1981 (Pub. L. 97-35 - reauthorized by Pub. L. 105-285, Section 201

